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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 9:18-CV-81221-ROSENBERG/REINHART

ANITA AUSTIN,

     Plaintiff,

v.

MEDICREDIT, INC.,

   Defendant.
 ________________________/

                                            ORDER CLOSING CASE

          This cause is before the Court on the parties’ Notice of Voluntary Dismissal at docket entry

25. In light of the fact that this case has been dismissed, it is

          ORDERED AND ADJUDGED:

                1. All pending motions are DENIED AS MOOT, all hearings are CANCELLED, and

                     all deadlines are TERMINATED;

                2. The Clerk of the Court is instructed to CLOSE THIS CASE.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 28th day of

November, 2018.


                                                        _______________________________
                                                        ROBIN L. ROSENBERG
                                                        UNITED STATES DISTRICT JUDGE
Copies furnished to Counsel of Record
